 Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 1 of 15 PageID #: 999



                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE


  IN RE:

  EX PARTE APPLICATION OF SPS CORP                Case No. 1:21-mc-00565-CFC
  I – FUNDO DE INVESTIMENTO EM
  DIREITOS CREDITÓRIOS NÃO
  PADRONIZADOS FOR AN ORDER TO
  TAKE DISCOVERY PURSUANT TO 28
  U.S.C. § 1782



             RESPONDENT GENERAL MOTORS COMPANY’S
              MEMORANDUM OF LAW IN OPPOSITION TO
             APPLICANT’S MOTION FOR RECONSIDERATION

                                      Daniel A. Mason (#5206)
                                      PAUL, WEISS, RIFKIND,
                                      WHARTON & GARRISON LLP
                                      500 Delaware Avenue, Suite 200
                                      Post Office Box 32
                                      Wilmington, DE 19899-0032
                                      (302) 655-4410 phone
                                      Email: dmason@paulweiss.com
     Of Counsel:
     Lewis R. Clayton
     Darren W. Johnson
     Amitav Chakraborty
     PAUL, WEISS, RIFKIND,
     WHARTON & GARRISON LLP
     1285 Avenue of the Americas
     New York, NY 10019-6064
                                       Counsel for Respondent
                                       General Motors Company
Dated DATED: September 27, 2022
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 2 of 15 PageID #: 1000



                                          TABLE OF CONTENTS

                                                                                                                      Page

PRELIMINARY STATEMENT .................................................................................1
ARGUMENT ...............................................................................................................2
I.                RECONSIDERATION IS NOT WARRANTED BECAUSE
                  THE INTEL FACTORS STILL WEIGH AGAINST THE
                  APPLICATION .......................................................................................3
         A.       SPS May Still Pursue Discovery in Brazil ..............................................4
         B.       The Character of the Brazilian Proceedings Continues to Counsel
                  Against Granting the Discovery SPS Seeks Here ...................................6
         C.       The Brazilian Judgment Confirms That Granting SPS’s
                  Application Would Circumvent Brazilian Proof-Gathering
                  Restrictions ..............................................................................................7
II.               RECONSIDERATION ALSO IS NOT WARRANTED
                  BECAUSE THE APPLICATION DOES NOT MEET THE
                  REQUIREMENTS OF SECTION 1782 OR COMPORT WITH
                  THE FEDERAL RULES ........................................................................9
CONCLUSION ..........................................................................................................10




                                                             i
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 3 of 15 PageID #: 1001



                                         TABLE OF AUTHORITIES

                                                                                                                      Page(s)

Cases
In re Atvos Agroindustrial Investimentos S.A.,
    481 F. Supp. 3d 166 (S.D.N.Y. 2020) ................................................................. 8
Bohus v. Beloff,
  950 F.2d 919 (3d Cir. 1991) ................................................................................. 3

Comision Ejecutiva Hidroelectrica del Rio Lempa v. Nejapa Power
  Co., LLC,
  No. CIV.A. 08-135-GMS, 2008 WL 4809035 (D. Del. Oct. 14,
  2008) ..................................................................................................................... 2

In re Effecten-Spiegel AG,
    No. 18MC93 (DLC), 2018 WL 3812444 (S.D.N.Y. Aug. 10, 2018),
    aff’d sub nom. Effecten-Spiegel AG v. Lynch, 771 F. App’x 38 (2d
    Cir. 2019) .............................................................................................................. 7
In re Ex Parte Glob. Energy Horizons Corp.,
    647 F. App’x 83 (3d Cir. 2016) ............................................................................ 6
In re OOO Promnefstroy,
    Misc. No. M 19-99 (RJS), 2009 WL 3335608 (S.D.N.Y. Oct. 15,
    2009) ..................................................................................................................... 6

Statutes

Brazilian Code of Civil Procedure, Article 381 .................................................5, 7, 8

28 U.S.C. § 1782 ...............................................................................................passim

Other Authorities

D. Del. Loc. R. 7.1.5(a) .............................................................................................. 2




                                                                ii
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 4 of 15 PageID #: 1002



      Respondent General Motors Company (“GM”) respectfully submits this

opposition to the motion for reconsideration (the “Motion”) of the Court’s August

13, 2022 Order (the “Order”) filed by Applicant SPS Corp I – Fundo de

Investimento em Direitos Creditórios Não Padronizados (“SPS”).

                          PRELIMINARY STATEMENT

      Far from supporting reconsideration, the judgment entered by the Brazilian

court (the “Brazilian Judgment”) confirms and provides additional support for the

Order, and SPS’s Motion fails to challenge any of the essential grounds of this

Court’s decision.

      The Brazilian Judgment makes clear that the discovery SPS is seeking is

premature and unauthorized and should instead be sought, if at all, in a merits

proceeding in Brazil if and when SPS obtains standing to file such a suit. Thus, the

Brazilian Judgment confirms that the Brazilian court is not receptive to the

discovery SPS seeks, and lays bare SPS’s attempt to circumvent the Brazilian courts

and their proof-gathering restrictions by pursuing the same discovery through this

Court. Mischaracterizing the Brazilian Judgment’s key holding, SPS repeatedly

suggests that the Brazilian court’s refusal to grant pre-litigation discovery leaves

SPS no choice but to obtain such discovery through this Court. But the Brazilian

Judgment specifically recognizes SPS’s ability to pursue such discovery in Brazil if

and when its claim is ripe.
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 5 of 15 PageID #: 1003



      Moreover, SPS does not dispute this Court’s finding that the discovery SPS

seeks here is substantially the same as the discovery it is seeking from GM Brazil in

the Brazilian courts. Order at 9. As the Court correctly noted in its Order, the

purpose of Section 1782 is to “help[] parties obtain discovery in the United States,

where foreign tribunals lack jurisdiction.” Id. The Brazilian Judgment confirms

that the Brazilian courts in fact have jurisdiction to order the discovery SPS seeks

from GM Brazil. SPS thus should be required to pursue the discovery in a merits

proceeding in the Brazilian courts rather than through its Application here that

undermines the aims of Section 1782 and would improperly force this Court to

resolve a dispute between two Brazilian entities regarding documents and witnesses

in Brazil.

                                    ARGUMENT

      It is well-settled that “motions for reconsideration should be granted only

sparingly.” Comision Ejecutiva Hidroelectrica del Rio Lempa v. Nejapa Power Co.,

LLC, No. CIV.A. 08-135-GMS, 2008 WL 4809035, *1 (D. Del. Oct. 14, 2008)

(citation omitted); see also D. Del. Loc. R. 7.1.5(a) (“Motions for reargument shall

be sparingly granted.”). “In this district, these types of motions are granted only if it

appears that the court has patently misunderstood a party, has made a decision

outside the adversarial issues presented by the parties, or has made an error not of

reasoning, but of apprehension.” Comision Ejecutiva, 2008 WL 4809035, at *1.

None of those grounds is present here, as SPS effectively concedes.

                                            2
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 6 of 15 PageID #: 1004



      Nonetheless, SPS argues that reconsideration is warranted due to “the

availability of new evidence that was not available when the court [made its

previous decision].” Motion at 2 (alteration in original). But “[n]ewly discovered

evidence refers to evidence of facts in existence at the time of [the previous

decision] of which the aggrieved party was excusably ignorant.” Bohus v. Beloff,

950 F.2d 919, 930 (3d Cir. 1991) (citation and alterations omitted). SPS has

identified no such facts. Instead, its Motion rests entirely on the Brazilian Judgment

entered by the Brazilian court after this Court’s Order. Notably, SPS fails to cite

any authority for the proposition that a post-decision ruling in another case

constitutes “new evidence” that supports reconsideration. Nor are we aware of any

such authority. On this basis alone, SPS’s Motion should be denied.

      But even if the Brazilian Judgment were to be considered “new evidence,”

SPS’s Motion still should be denied because, as discussed below, the Brazilian

Judgment confirms and provides additional support for this Court’s conclusion that

the Intel factors weigh against the Application, and SPS also does not meet the

requirements of Section 1782 and the Federal Rules of Civil Procedure.

I.    RECONSIDERATION IS NOT WARRANTED BECAUSE THE
      INTEL FACTORS STILL WEIGH AGAINST THE APPLICATION

      The Court correctly concluded that the Intel factors weigh against SPS’s

Application because (1) SPS can obtain the discovery it seeks in Brazil and (2) the

character of the foreign proceedings and the receptivity of the foreign tribunal to the


                                           3
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 7 of 15 PageID #: 1005



discovery SPS seeks caution against granting the Application. Order at 5-7. Those

factors weigh even more heavily against the Application after the Brazilian

Judgment. The Brazilian Judgment makes clear that SPS is still able to pursue in

Brazil the same discovery it is seeking here, and the potential receptivity of the

Brazilian courts to that discovery continues to counsel against compelling discovery

here. Moreover, the Brazilian Judgment provides an additional ground for denying

SPS’s Application because it confirms that granting SPS’s requested discovery at

this pre-litigation stage would circumvent Brazilian proof-gathering restrictions.

For these reasons, as discussed more fully below, it is now even more clear that the

Intel factors weigh against the Application and reconsideration should be denied.

      A.     SPS May Still Pursue Discovery in Brazil

      SPS’s Motion rests largely on its erroneous claim that the Brazilian Judgment

prevents it from obtaining the discovery it seeks from GM Brazil in the Brazilian

courts. Motion at 5-7. To the contrary, the Brazilian Judgment itself expressly

states that SPS remains able to pursue that discovery in a merits proceeding in

Brazil.

      As GM described in its opposition to the Section 1782 request, the discovery

SPS seeks is premature because it has no current right to payment of the tax credits.

Opp. at 4-7; Simão Decl. ¶¶ 6-13. GM Brazil timely filed a proof of claim in 2019

with the Receita Federal do Brasil (“RFB”), the RFB has a five-year window upon

receipt to examine the tax credit amount and ratify the request, and GM Brazil’s

                                           4
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 8 of 15 PageID #: 1006



duty to transfer the tax credits to the dealerships does not arise unless and until

(i) the RFB ratifies the amount in the proof of claim, or (ii) the five-year

examination period expires. Opp. at 4-5. SPS will only have standing to sue if GM

Brazil fails to transfer the tax credits at that time. Id. at 5-6.

       Rather than wait until it had standing, SPS chose instead to file a purported

and improper pre-litigation discovery proceeding pursuant to Article 381 of the

Brazilian Code of Civil Procedure. As the Brazilian court stated in denying SPS’s

request, “the purpose of [such a proceeding] is to preserve the evidence . . . ensuring

that certain evidence is not lost or destroyed,” and “one cannot transform the nature

of the preliminary discovery lawsuit action into . . . an action to compel evidence.”

Brazilian Judgment at 3-4. Tellingly, SPS now belatedly concedes that it had no

right to file this proceeding. Motion at 7 (“[T]he São Paulo Court is statutorily

limited from compelling GM Brazil to produce the remaining evidence [in an

Article 381 proceeding]”).

       That SPS improperly invoked the pre-litigation discovery procedure in Article

381, and that the Brazilian court rightfully rejected its attempt to do so, does not

alter the fact—as the Brazilian court made clear in its decision—that SPS still may

challenge the sufficiency of the documents produced thus far by GM Brazil and

pursue any additional discovery in a merits proceeding in Brazil. See Brazilian

Judgment at 4 (ruling that it is “incumbent upon plaintiff” to “weigh [] the filing of



                                             5
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 9 of 15 PageID #: 1007



any future action,” and “that the sufficiency or not of the documents presented . . . is

a subject to be examined in any main action, under the rules of the burden of

proof”). Indeed, SPS acknowledges that it may obtain such discovery “by filing the

contemplated proceeding” in the Brazilian court. Motion at 7. That is a concession

that there is no need—and no authorization—for its Application here.

      Where, as here, “the discovery sought is within the foreign tribunal’s

jurisdictional reach, and therefore accessible without seeking the aid of § 1782,” the

first Intel factor weighs against granting the application. In re Ex Parte Glob.

Energy Horizons Corp., 647 F. App’x 83, 85 (3d Cir. 2016); see also In re OOO

Promnefstroy, Misc. No. M 19-99 (RJS), 2009 WL 3335608, at *5 (S.D.N.Y. Oct.

15, 2009) (“[I]t is the foreign tribunal’s ability to control the evidence and order

production . . . on which the district court should focus.”).

      B.     The Character of the Brazilian Proceedings Continues to
             Counsel Against Granting the Discovery SPS Seeks Here
      This Court found that the second Intel factor weighed against granting the

Application because SPS was seeking the same discovery in Brazil, and “the Sao

Paulo court may not be receptive to the discovery I order, or I may duplicate that

tribunal’s efforts.” Order at 7. Those same concerns remain—and in fact are even

stronger—now. The Brazilian Judgment makes clear that the Brazilian courts are

not receptive to the discovery SPS seeks unless and until it obtains standing, but




                                           6
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 10 of 15 PageID #: 1008



recognized that SPS could pursue that same discovery in a merits proceeding in the

same Brazilian court if and when its claim is ripe. Brazilian Judgment at 4.

      SPS erroneously contends that because the Article 381 pre-litigation

proceeding is concluded, it has no other choice but to seek the discovery in this

Court. Motion at 6. But the Brazilian Judgment in no way forecloses SPS pursuing

the same discovery in a merits proceeding in the same Brazilian court. In fact, the

Brazilian Judgment expressly contemplates SPS doing so, as SPS itself concedes:

“the Final Order does recognize SPS’s ability to seek the evidence production by

filing the contemplated proceeding.” Motion at 7.

      Accordingly, out of “respect for the Sao Paulo court and the goal of efficient

litigation,” Order at 7, the Court should adhere to its decision. See In re Effecten-

Spiegel AG, No. 18MC93 (DLC), 2018 WL 3812444, at *2 (S.D.N.Y. Aug. 10,

2018) (rejecting reconsideration of ruling denying Section 1782 application and

noting that petitioner’s application was denied in part because the foreign court

denied the requested discovery), aff’d sub nom. Effecten-Spiegel AG v. Lynch, 771

F. App’x 38 (2d Cir. 2019).

      C.     The Brazilian Judgment Confirms That Granting SPS’s
             Application Would Circumvent Brazilian Proof-Gathering
             Restrictions

      The Court found that the third Intel factor—whether SPS is attempting to

circumvent foreign proof-gathering restrictions—was “neutral, at least for now.”

Order at 7. The Brazilian Judgment has now confirmed that this factor weighs

                                           7
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 11 of 15 PageID #: 1009



squarely against SPS—granting the Application would circumvent Brazilian proof-

gathering restrictions at this pre-litigation stage. This is the result the Court

contemplated when it observed that “if the Sao Paulo court rules in favor of GM

Brazil, any discovery I provide would likely circumvent foreign proof-gathering

restrictions because the foreign tribunal has already rejected requests for the same

documents.” Order at 8 (internal citations and alterations omitted).

      SPS’s suggestion that the Brazilian court “did not rule in favor of GM

Brazil,” Motion at 8, is belied by the plain and unambiguous language of the

Brazilian Judgment. The Brazilian court rejected SPS’s request for pre-litigation

discovery and agreed with GM Brazil that such discovery was premature and not an

appropriate subject of an Article 381 proceeding, and instead should be pursued, if

at all, at the appropriate time in a merits proceeding in the same court. There thus

can be no serious dispute that the Brazilian court denied SPS’s application and ruled

in GM Brazil’s favor.

      The Brazilian court dismissed SPS’s proceeding and ruled that it may pursue

discovery only if and when it gains standing. Thus, if this Court were to grant SPS’s

Application, it would be circumventing those Brazilian proof-gathering restrictions.

See In re Atvos Agroindustrial Investimentos S.A., 481 F. Supp. 3d 166, 177

(S.D.N.Y. 2020) (when applicant “made the tactical decision to seek discovery from

its opponent (and its affiliates)” in the U.S. due to the limited ability to engage in



                                            8
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 12 of 15 PageID #: 1010



pretrial discovery in Brazil, applicant evinced an attempt to make an “end-run

around [Brazil’s] proof gathering restrictions”).

II.   RECONSIDERATION ALSO IS NOT WARRANTED BECAUSE
      THE APPLICATION DOES NOT MEET THE REQUIREMENTS
      OF SECTION 1782 OR COMPORT WITH THE FEDERAL RULES

      This Court denied SPS’s Application under the discretionary Intel factors, and

therefore did not need to reach the question of whether the application meets the

statutory requirements of Section 1782 or comports with the Federal Rules of Civil

Procedure. Order at 5-6. But those requirements still provide an additional basis for

denying SPS’ Motion.

      As discussed in GM’s opposition to the Application, SPS fails to meet the

Section 1782 statutory requirements because (1) GM Brazil—the true target of the

Application—does not reside in, and is not found in, this District, and (2) SPS fails

to show that the requested information is “for use” in a foreign proceeding that is

within reasonable contemplation. Opp. at 13-20. GM Brazil continues not to reside

in, or be found in, this District. And SPS’s Motion only further confirms that SPS

lacks standing—and may never obtain standing—to bring a merits proceeding in

Brazil.

      SPS’s Application also does not comport with the Federal Rules of Civil

Procedure, which do not permit discovery that can be equally obtained from another

source that is “more convenient, less burdensome, or less expensive,” such as—in



                                           9
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 13 of 15 PageID #: 1011



this case—through GM Brazil in Brazil. Id. at 31-32 (citing Rule 23(b)(2)(C) and

Rule 45).

                                 CONCLUSION
      For the reasons set forth above, the Court should deny SPS’s Motion for

Reconsideration.



Dated: September 27, 2022                 Respectfully submitted,

                                          PAUL, WEISS, RIFKIND,
                                            WHARTON & GARRISON LLP

                                          By: /s/ Daniel A. Mason
                                            Daniel A. Mason (#5206)
                                            500 Delaware Avenue, Suite 200
                                            Post Office Box 32
                                            Wilmington, DE 19899-0032
                                            (302) 655-4410 phone
                                            (302) 655-4420 fax
                                            Email: dmason@paulweiss.com


 Of Counsel:
 Lewis R. Clayton
 Darren W. Johnson
 Amitav Chakraborty
 PAUL, WEISS, RIFKIND,
 WHARTON & GARRISON LLP
 1285 Avenue of the Americas
 New York, NY 10019-6064

                                             Counsel for Respondent
                                             General Motors Company



                                        10
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 14 of 15 PageID #: 1012



                       CERTIFICATE OF COMPLIANCE

      I hereby certify that this filing complies with the type, font, and word-count

limitations set forth in the Court’s Standing Order Regarding Briefing in All Cases of

November 6, 2019. According to the word processing system used to prepare it, the

foregoing document contains 2,233 words, excluding the case caption, table of

contents, table of authorities, and signature block. The text of this filing was prepared

in Times New Roman, 14 point font.



                                             PAUL, WEISS, RIFKIND,
                                               WHARTON & GARRISON LLP

                                             By: /s/ Daniel A. Mason
                                               Daniel A. Mason (#5206)
                                               500 Delaware Avenue, Suite 200
                                               Post Office Box 32
                                               Wilmington, DE 19899-0032
                                               (302) 655-4410 phone
                                               (302) 655-4420 fax
                                               Email: dmason@paulweiss.com
Case 1:21-mc-00565-CFC Document 33 Filed 09/27/22 Page 15 of 15 PageID #: 1013



                          CERTIFICATE OF SERVICE

      I hereby certify that, on September 27, 2022, a copy of the foregoing

Memorandum of Law was filed electronically. Notice of this filing will be sent by

email to all parties by operation of the Court’s electronic filing system. Parties may

access this filing through the Court’s CM/ECF System.



                                       /s/ Daniel A. Mason
                                       Daniel A. Mason (#5206)
